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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


THE SATANIC TEMPLE,                            )
                                               )
             Plaintiff,                        )
                                               )
      v.                                       ) Case No.: 1:22-cv-01859-JMS-MG
                                               )
ERIC HOLCOMB, in his capacity as the           )
Governor of Indiana; and                       )
TODD ROKITA, in his capacity as the            )
Attorney General of Indiana,                   )
                                               )
             Defendants.                       )


                            NOTICE OF APPEARANCE

To the Clerk of this Court and all parties of record:

I am admitted to practice in this court, and I appear in this case for the Defendants:

Eric Holcomb, in his capacity as the Governor of Indiana,

and

Todd Rokita, in his capacity as the Attorney General of Indiana.


                                               Respectfully submitted,


                                               Office of the Indiana Attorney General
                                               Todd Rokita
                                               Atty No. 18857-49


Date: January 23, 2023                  By:    Jefferson S. Garn
                                               Atty. No. 29921-49
                                               Deputy Attorney General
                                               Office of the Indiana Attorney General
                                               Todd Rokita


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